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                   UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA

         BEFORE THE HONORABLE WILLIAM H. ORRICK, JUDGE

UNITED STATES OF AMERICA,      )
                               )
           Plaintiff,          )
                               )
  VS.                          )        No. 15-cr-00582-WHO-1
                               )
ADAM SHAFI,                    )
                               )
             Defendant.        )       San Francisco, California
_______________________________)

                                       Thursday, August 25, 2022


                    TRANSCRIPT OF PROCEEDINGS

APPEARANCES:


For Plaintiff:            STEPHANIE M. HINDS
                          United States Attorney
                          450 Golden Gate Avenue, 11th Floor
                          San Francisco, California 94102
                    BY:   NICHOLAS WALSH
                          ASSISTANT UNITED STATES ATTORNEY


For Defendant:            MOEEL LAH FAKHOURY LLP
                          1300 Clay Street
                          Suite 600
                          Oakland, California 94612
                    BY:   HANNI M. FAKHOURI, ESQ.


For U.S. Probation:
                          CHRIS LOMAN



Reported By:   BELLE BALL, CSR 8785, CRR, RDR
               Official Reporter, U.S. District Court
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1    Thursday - August 25, 2022                             1:46 p.m.

2                           P R O C E E D I N G S

3             THE COURTROOM DEPUTY:      We will begin the calendar with

4    Case No. 15-582, USA versus Adam Shafi.

5         Counsel, if you would please come forward and state your

6    appearance for the record.

7             MR. FAKHOURY:    Good afternoon, Your Honor.       Hanni

8    Fakhoury on behalf of Mr. Shafi, who is present, Your Honor.

9             THE COURT:    Mr. Shafi, Mr. Fakhoury.

10            MR. LOMAN:    Good afternoon, Your Honor.      Chris Loman

11   with the U.S. Probation office.

12            THE COURT:    Great.

13            MR. WALSH:    Your Honor, I'm not sure who is the

14   Assistant United States Attorney on this matter.

15            THE COURT:    Actually, it's okay.

16            MR. WALSH:    Okay.

17            THE COURT:    But, if you would state your appearance.

18            MR. WALSH:    Certainly.    My name is Nicholas Walsh, for

19   the United States, Your Honor.

20            THE COURT:    Thank you, Mr. Walsh.

21        All right.   So the motion is on for an early termination

22   of supervised release.    And there was no response by the

23   government.

24        And I would have granted this, the moment that I read it.

25   I wanted to make sure that Probation didn't have any contrary
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1    indication.    So...

2             MR. LOMAN:    Yes, Your Honor.     I had time to review

3    Mr. Fakhoury's brief.    And we would -- the Probation Department

4    would agree with the facts of how well he's been doing on

5    supervision.

6         He's -- he's a student.     He's completed counseling.          We

7    haven't had any violations during his supervision.         He's been

8    on for approximately 42 months.

9         However, due to the nature of the charges in this case,

10   the Probation Office is not inclined to recommend early

11   termination.

12            THE COURT:    Okay.   Well, I am.

13        So I set this hearing very selfishly on my part, because I

14   wanted to see you in person, Mr. Shafi.       I wanted to

15   congratulate you, and thank you for all that you have

16   accomplished in the last several years.       It's been seven, I

17   guess, since I first saw you.

18        You are such a different human being than you were when I

19   first saw you.   You've taken advantage of every opportunity

20   that the Court has given to you.      You're the person that your

21   parents described throughout this case, and the person that I

22   thought you would turn out to be.

23        So I just -- I wanted to congratulate you.        I wanted to

24   congratulate you on what I assume will be your gradation from

25   college in December.
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1                THE DEFENDANT:    (Nods head)

2                THE COURT:    The work that you've been doing on your

3    business, and mostly for the character that you've shown to be,

4    that's exemplified in the letters that I've received from your

5    family and friends.

6           You have been on quite a journey in your life.          And I just

7    wanted you to know that I'm proud of the journey that you're

8    on.    You've been completely compliant with all the requirements

9    of supervised release.

10          Further supervision would serve no purpose, and it would

11   impede your ability to work and grow as a human being.

12          So I'm delighted to grant your motion to terminate

13   supervision.      And I want to you stay right where you are for a

14   second.

15          (The Court approaches The Defendant; they shake hands and

16   hug)

17               THE COURT:    I just wanted to congratulate you.       Well

18   done.

19               THE WITNESS:    Thank you so much.

20               THE COURT:    Good luck, good life.

21          Mr. Fakhoury, thank you.

22               MR. FAKHOURY:    Thank you, Your Honor.

23               THE COURT:    All right.

24               THE DEFENDANT:    Thank you so much, Your Honor.

25               THE COURT:    All right, Mr. Shafi, go to it.
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1    (Applause)

2    (Proceedings concluded)

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                      CERTIFICATE OF REPORTER

         I, BELLE BALL, Official Reporter for the United States

Court, Northern District of California, hereby certify that the

foregoing is a correct transcript from the record of

proceedings in the above-entitled matter.




                          /s/ Belle Ball

                 Belle Ball, CSR 8785, CRR, RDR

                    Friday, September 30, 2022
